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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW HAMPSHIRE



GC/AAA FENCES, INC., and ERIK T.                        CLASS ACTION COMPLAINT
BARSTOW

                       Plaintiffs,
                                                        JURY TRIAL DEMANDED
       v.

ANTHEM BLUE CROSS AND BLUE
SHIELD OF NEW HAMPSHIRE, and                            Case No. ________________
BLUE CROSS AND BLUE SHIELD
ASSOCIATION,

                       Defendants.



                                 CLASS ACTION COMPLAINT

       Plaintiffs, GC/AAA Fences, Inc., and Sally G. DeRosa on behalf of themselves and all

others similarly situated, for their Complaint against Defendants, Anthem Blue Cross and Blue

Shield of New Hampshire (“BCBS-New Hampshire”) and the Blue Cross and Blue Shield

Association (“BCBSA”), allege as follows:

                                     NATURE OF THE CASE

       1.      This is a class action brought on behalf of subscribers of BCBS-New Hampshire

to enjoin an ongoing conspiracy in violation of the Sherman Act between BCBS-New Hampshire

and the thirty-seven other BCBSA member health plans. In addition, this action seeks to recover

damages in the form of inflated premiums that BCBS-New Hampshire has charged as a result of

this illegal conspiracy, and as a result of anticompetitive conduct it has taken in its illegal efforts

to establish and maintain monopoly power throughout New Hampshire.



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       2.      BCBS-New Hampshire is by far the largest health insurance company operating

in New Hampshire and currently exercises market power in the commercial health insurance

market throughout New Hampshire.          As of 2010, approximately 60 percent of the New

Hampshire Small Group Subscribers and 67 percent of New Hampshire Individual Subscribers to

full-service commercial health insurance ) are subscribers of BCBS-New Hampshire – vastly

more than are subscribers of the next largest commercial insurer operating in New Hampshire,

Harvard Pilgrim Health Care, which carries only 24% percent of such subscribers.

       3.      The dominant market share enjoyed by BCBS-New Hampshire is the direct result

of an illegal conspiracy in which thirty-seven of the nation’s largest health insurance companies

have agreed that they will not compete with BCBS-New Hampshire in New Hampshire, and that

BCBS-New Hampshire will have the exclusive right to do business in New Hampshire so long as

it limits its competition with any of its thirty-seven co-conspirators in each of their assigned

geographic areas. These market allocation agreements are implemented through Blue Cross and

Blue Shield license agreements executed between BCBSA, a licensing vehicle that is owned and

controlled by all of the Blue Cross and Blue Shield plans, and each individual Blue Cross and

Blue Shield licensee, including BCBS-New Hampshire. Through the terms of these per se illegal

license agreements, the independent Blue Cross and Blue Shield entities throughout the country,

including BCBS-New Hampshire, have explicitly agreed not to compete with one another, in

direct violation of Section 1 of the Sherman Act. By so agreeing, they have attempted to

entrench and perpetuate the dominant market position that each Blue Cross and Blue Shield

entity has historically enjoyed in its specifically defined geographic market.

       4.      This illegal conspiracy to divide markets and to eliminate competition extends

beyond the use of the Blue Cross and Blue Shield brand names. Many of the Blue Cross and

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Blue Shield affiliates have developed substantial non-Blue brands that could compete in New

Hampshire. However, the illegal conspiracy includes a per se illegal agreement that the Blue

Cross and Blue Shield licensees will not compete with one another through the use of their non-

Blue brands, beyond a relatively de minimis extent. But for the illegal agreements not to

compete with one another, these entities could and would use their non-Blue brands to compete

with BCBS-New Hampshire throughout New Hampshire, which would result in greater

competition and lower premiums for subscribers.

       5.       The Defendants’ illegal conspiracy has perpetuated BCBS-New Hampshire’s

monopoly power in New Hampshire, which has resulted in skyrocketing premiums for New

Hampshire BCBS-New Hampshire enrollees for over a decade.            BCBS-New Hampshire’s

anticompetitive behavior, and the lack of competition BCBS-New Hampshire faces because of

its monopoly power and anticompetitive behavior, have led to higher costs, resulting in higher

premiums charged to BCBS-New Hampshire customers. As a result of these inflated premiums,

costs of insurance coverage has risen steeply in New Hampshire. For example, from 2009 to

2010 the cost of insurance coverage for small groups and individuals rose 15% and 39%,

respectively.

       6.       As the dominant player in all of New Hampshire’s health insurance markets,

BCBS-New Hampshire has led the way in causing premiums to be increased each year. From

2009 to 2010, for example, New Hampshire small group purchasers saw rate increases of

approximately 17%, while individual purchasers saw rate increases of approximately 13%. As a

result of these and other inflated premiums, Between 2006 and 2011, BCBS-New Hampshire

reported annual income between $26 million and $112 million and a cumulative profit of

approximately $360 million during that period.

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       7.      These inflated premiums would not be possible if the market for health insurance

in New Hampshire were truly competitive. Full and fair competition is the only answer to

artificially inflated prices, and competition is not possible so long as BCBS-New Hampshire and

BCBSA are permitted to enter into agreements that have the actual and intended effect of

restricting the ability of thirty-seven of the nation’s largest health insurance companies from

competing in New Hampshire.

                                JURISDICTION AND VENUE

       8.      This Court has federal question jurisdiction pursuant to 28 U.S.C. §§ 1331 and

1337(a) because Plaintiffs bring their claims under Sections 4 and 16 of the Clayton Act, 15

U.S.C. §§ 15 and 26, to recover treble damages and costs of suit, including reasonable attorneys’

fees, against BCBSA and BCBS-New Hampshire for the injuries sustained by Plaintiffs and the

Class by reason of the violations, as hereinafter alleged, of Sections 1 and 2 of the Sherman Act,

15 U.S.C. §§ 1 and 2.

       9.      Venue is proper in this district pursuant to Sections 4, 12, and 16 of the Clayton

Act, 15 U.S.C. §§ 15, 22, and 26, and 28 U.S.C. § 1391.

                                            PARTIES

Plaintiffs

       10.     Plaintiff Erik T. Barstow is a resident citizen of Portsmouth, NH. He has been

enrolled in an individual BCBS-New Hampshire health insurance policy since January 2012.

       11.     Plaintiff GC/AAA Fences, Inc. is a New Hampshire corporation with its principal

office located at 294 Durham Road, Dover, New Hampshire, 03820. Plaintiff GC/AAA Fences,

Inc. has purchased BCBS-New Hampshire health insurance 2009.

Defendants

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          12.   Defendant BCBSA is a corporation organized under the state of Illinois and

headquartered in Chicago, Illinois.    It is owned and controlled by thirty-eight (38) health

insurance plans that operate under the Blue Cross and Blue Shield trademarks and trade names.

BCBSA was created by these plans and operates as a licensor for these plans. Health insurance

plans operating under the Blue Cross and Blue Shield trademarks and trade names provide health

insurance coverage for approximately 100 million – or one in three – Americans. A BCBS

licensee is the largest health insurer, as measured by number of subscribers, in forty-four (44)

states.

          13.   The principal headquarters for BCBSA is located at 225 North Michigan Avenue,

Chicago, IL 60601.

          14.   BCBSA has contacts with the State of New Hampshire by virtue of its agreements

and contacts with BCBS-New Hampshire. In particular, BCBSA has entered into a series of

license agreements with BCBS-New Hampshire that control the geographic areas in which

BCBS-New Hampshire can operate. These agreements are a subject of this Complaint.

          15.   Defendant BCBS-New Hampshire is the health insurance plan operating under the

Blue Cross and Blue Shield trademarks and trade names in New Hampshire. It is owned by

WellPoint, which is by at least some measures the largest health insurer in the United States.

Like other Blue Cross and Blue Shield plans nationwide, BCBS-New Hampshire is the largest

health insurer, as measured by number of subscribers, within its service area, which is defined as

“the state of New Hampshire.”

          16.   The principal headquarters for BCBS-New Hampshire is located at 3000 Goffs

Falls Rd, Manchester, NH 03103. BCBS-New Hampshire does business in each county in New

Hampshire.

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                                 TRADE AND COMMERCE

       17.    BCBS-New Hampshire and the 37 other health plans that own and control

BCBSA are engaged in interstate commerce and in activities substantially affecting interstate

commerce, and the conduct alleged herein substantially affects interstate commerce. BCBSA

enters into agreements with health insurance companies throughout the country that specify the

geographic areas in which those companies can compete. BCBS-New Hampshire provides

commercial health insurance that covers New Hampshire residents when they travel across state

lines, purchases health care in interstate commerce when New Hampshire residents require

health care out of state, and receives payments from employers outside of New Hampshire on

behalf of New Hampshire residents.

                             CLASS ACTION ALLEGATIONS

       18.    Plaintiffs bring this action seeking damages on behalf of themselves individually

and on behalf of a class pursuant to the provisions of Rule 23(a) and Rule 23(b)(1) and (b)(3) of

the Federal Rules of Civil Procedure, with such class (the “New Hampshire Class”) defined as:

              All persons or entities who, from April 24 2009 to the present (the “Class
              Period”) have paid health insurance premiums to BCBS-New Hampshire for
              individual or small group full-service commercial health insurance.

       19.    The Class is so numerous and geographically dispersed that joinder of all

members is impracticable. While Plaintiffs do not know the number and identity of all members

of the Class, Plaintiffs believe that there are hundreds of thousands of Class members, the exact

number and identities of which can be obtained from BCBSA and BCBS-New Hampshire.

       20.    There are questions of law or fact common to the Class, including but not limited

to:



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               a. Whether the restrictions set forth in the BCBSA license agreements are per se

                   violations of Section 1 of the Sherman Act, or are otherwise prohibited under

                   Section 1 of the Sherman Act;

               a. Whether, and the extent to which, premiums charged by BCBS-New

                   Hampshire to class members have been artificially inflated as a result of the

                   illegal restrictions in the BCBSA license agreements;

               b. Whether, and the extent to which, premiums charged by BCBS-New

                   Hampshire have been artificially inflated as a result of the anticompetitive

                   practices adopted by BCBS-New Hampshire.

       21.     The questions of law or fact common to the members of the Class predominate

over any questions affecting only individual members, including legal and factual issues relating

to liability and damages.

       22.     Plaintiffs are members of the New Hampshire Class; their claims are typical of

the claims of the members of the Class; and Plaintiffs will fairly and adequately protect the

interests of the members of the Class. Plaintiffs and the New Hampshire Class are direct

purchasers of individual or small group full-service commercial health insurance from BCBS-

New Hampshire, and their interests are coincident with and not antagonistic to other members of

the Class. In addition, Plaintiffs have retained and are represented by counsel who are competent

and experienced in the prosecution of antitrust and class action litigation.

       23.     The prosecution of separate actions by individual members of the Class would

create a risk of inconsistent and varying adjudications, establishing incompatible standards of

conduct for BCBSA and BCBS-New Hampshire.



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       24.     A class action is superior to other available methods for the fair and efficient

adjudication of this controversy. The Class is readily definable and is one for which BCBS-New

Hampshire has records. Prosecution as a class action will eliminate the possibility of repetitious

litigation. Treatment of this case as a class action will permit a large number of similarly

situated persons to adjudicate their common claims in a single forum simultaneously, efficiently,

and without the duplication of effort and expense that numerous individual actions would

engender. Class treatment will also permit the adjudication of relatively small claims by many

class members who otherwise could not afford to litigate an antitrust claim such as is asserted in

this Complaint. This class action does not present any difficulties of management that would

preclude its maintenance as a class action.

                                 FACTUAL BACKGROUND

                      General Background and Summary of Allegations

       25.     BCBS-New Hampshire enjoys unrivaled market dominance within New

Hampshire. As of 2010, BCBS-New Hampshire enrolled at least 67 percent of individual and 60

percent of Small Group subscribers of full-service commercial health insurance plans, whether

offered through a health maintenance organization (“HMO”) or through a preferred provider

organization (“PPO”) plan.

       26.     BCBS-New Hampshire’s market dominance in New Hampshire is the result of a

conspiracy between BCBS-New Hampshire and the thirty-seven other insurance companies that

license the Blue Cross and/or Blue Shield brands to unlawfully divide and allocate the

geographic markets for health insurance coverage in the United States. That conspiracy is

implemented through the Blue Cross and Blue Shield license agreements that each licensee has

entered into with Defendant BCBSA. As detailed herein, the member health insurance plans of

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BCBSA, including BCBS-New Hampshire, have entered into a series of licensing arrangements

that have insulated BCBS-New Hampshire and the other health insurance plans operating under

the Blue Cross and/or Blue Shield trademarks from competition in each of their respective

service areas.

       27.       This series of agreements has enabled BCBS-New Hampshire to acquire and

maintain a grossly disproportionate market share for health insurance products in New

Hampshire, where BCBS-New Hampshire enjoys market and monopoly power.

       28.       BCBS-New Hampshire has used its market and monopoly power in New

Hampshire to engage in a number of anticompetitive practices.           For example, BCBS-New

Hampshire uses its market and monopoly power and its reimbursement policy to threaten

providers into contracting with BCBS-New Hampshire at below-market rates. Faced with this

prospect, providers capitulate to BCBS-New Hampshire’s demands.

       29.       Because the BCBSA licensing agreements exclude rival health insurance plans

from the market, BCBS-New Hampshire faces little pressure to constrain its own costs. With few

other health insurance plan options to compete with, BCBS-New Hampshire can raise premiums

(and thereby recoup its costs) without any concern that its subscribers may switch to a rival

insurance plan. The few consumers who subscribe to rival insurance plans face higher premiums

as well, as these plans pass on to their subscribers the high cost of competing against BCBS-New

Hampshire.

       30.       Defendants’ anticompetitive practices, by reducing the choices available to health

insurance consumers and increasing the cost of health care in New Hampshire, have raised the

premiums that New Hampshire residents must pay to obtain health insurance. BCBS-New

Hampshire’s rival health insurance plans are excluded from the market, and the few rival plans

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that have broken into the New Hampshire market must pay significantly higher rates to health

care providers.

       31.        The skyrocketing cost of BCBS-New Hampshire health insurance coverage in

New Hampshire tells the story of BCBS-New Hampshire’s abuse of its market and monopoly

power at the expense of health care plan consumers in New Hampshire. 2011 was no different as

BSBS-New Hampshire raised rates between 17% and 19% on many of its plans.

                  History of the Blue Cross and Blue Shield Plans and of BCBSA

       32.        The history of the Blue Cross and Blue Shield plans demonstrates that the plans

arose independently, that they jointly conceived of the Blue Cross and Blue Shield marks in a

coordinated effort to create a national brand that each would operate within its local area, and

that they quickly developed into local monopolies in the growing market for health care

coverage. While originally structured as non-profit organizations, since the 1980s these local

Blue plans have increasingly operated as for-profit entities: either by formally converting to for-

profit status (as BCBS-New Hampshire did), or by generating substantial surpluses that have

been used to fund multi-million dollar salaries and bonuses for their administrators.

       33.        The history of BCBSA demonstrates that it was created by the local Blue plans

and is entirely controlled by those plans. Moreover, the history of BCBSA demonstrates that the

origin of the geographic restrictions in its trademark licenses was an effort to avoid competition

between the various Blue plans, and to ensure that each Blue plan would retain a dominant

position within its local service area.

Development of the Blue Cross Plans

       34.        In 1934, an administrator named E.A. von Steenwyck helped develop a prepaid

hospital plan in St. Paul, Minnesota. In his effort to help sell the plan, he commissioned a poster

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that showed a nurse wearing a uniform containing a blue Geneva cross, and used the symbol and

the name “Blue Cross” to identify the plan. This is believed to be the first use of the Blue Cross

symbol and name as a brand symbol for a health care plan. Within the year, other prepaid

hospital plans began independently using the Blue Cross symbol.

        35.    In 1937, Blue Cross plan executives met in Chicago. At that meeting, American

Hospital Association (“AHA”) officials announced that prepaid hospital plans meeting certain

standards of approval would receive institutional membership in the AHA. In 1938, the

Committee on Hospital Service adopted a set of principles to guide its “approval” of prepaid

hospital plans. One such principle was that the plans would not compete with each other. When

the approval program went into effect, there were already 38 independently formed prepaid

hospital plans with a total of 1,365,000 members.

        36.    In 1939, the Blue Cross mark was adopted as the official emblem of those prepaid

hospital plans that received the approval of the AHA.

        37.    In 1941, the Committee on Hospital Service, which had changed its name to the

Hospital Service Plan Committee, introduced a new standard: that approval would be denied to

any plan operating in another plan’s service area. Contrary to the principles that plans would not

compete and that plans would not operate in each others’ service areas, the independently formed

prepaid hospital plans, now operating under the Blue Cross name, engaged in fierce competition

with each other and often entered each others’ territories. The authors of The Blues: A History of

the Blue Cross and Blue Shield System, which BCBSA sponsored and its officers reviewed prior

to publication, describe the heated competition between the various Blue Cross plans at that

time:



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       The most bitter fights were between intrastate rivals . . . . Bickering over nonexistent
       boundaries was perpetual between Pittsburgh and Philadelphia, for example. . . . John
       Morgan, who directed a Plan in Youngstown, Ohio, for nearly twenty-five years before
       going on to lead the Blue Cross Plan in Cincinnati, recalled: “In Ohio, New York, and
       West Virginia, we were knee deep in Plans.” At one time or another, there were Plans in
       Akron, Canton, Columbus, Cleveland, Cincinnati, Lima, Portsmouth, Toledo, and
       Youngstown . . . . By then there were also eight Plans in New York and four in West
       Virginia. . . . Various reciprocity agreements between the Plans were proposed, but they
       generally broke down because the Commission did not have the power to enforce them.

       38.     For many years, Cross-on-Cross competition continued, as described in Odin

Anderson’s Blue Cross Since 1929: Accountability and the Public Trust, which was funded by

the Blue Cross Association, one predecessor to BCBSA. Anderson points to Illinois and North

Carolina, where “[t]he rivalry [between a Chapel Hill plan and a Durham plan] was fierce,” as

particular examples, and explains that though “Blue Cross plans were not supposed to overlap

service territories,” such competition was “tolerated by the national Blue Cross agency for lack

of power to insist on change.”

       39.     By 1975, the Blue Cross plans had a total enrollment of 84 million.

Development of the Blue Shield Plans

       40.     The development of what became the Blue Shield plans followed, and imitated,

the development of the Blue Cross plans. These plans were designed to provide a mechanism for

covering the cost of physician care, just as the Blue Cross plans had provided a mechanism for

covering the cost of hospital care. Similarly, the Blue Cross hospital plans were developed in

conjunction with the AHA (which represents hospitals), while the Blue Shield medical society

plans were developed in conjunction with the American Medical Association (“AMA”) (which

represents physicians).

       41.     Like the Blue Cross symbol, the Blue Shield symbol was developed by a local

medical society plan, and then proliferated as other plans adopted it.

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       42.     In 1946, the AMA formed the Associated Medical Care Plans (“AMCP”), a

national body intended to coordinate and “approve” the independent Blue Shield plans. When

the AMCP proposed that the Blue Shield symbol be used to signify that a Blue Shield plan was

“approved,” the AMA responded, “It is inconceivable to us that any group of state medical

society Plans should band together to exclude other state medical society programs by patenting

a term, name, symbol, or product.” In 1960, the AMCP changed its name to the National

Association of Blue Shield Plans, which in 1976 changed its name to the Blue Shield

Association.

       43.     By 1975, the Blue Shield plans had a total enrollment of 73 million.

Creation of the Blue Cross and Blue Shield Association

       44.     Historically, the Blue Cross plans and the Blue Shield plans were fierce

competitors. During the early decades of their existence, there were no restrictions on the ability

of a Blue Cross plan to compete with or offer coverage in an area already covered by a Blue

Shield plan. Cross-on-Cross and Shield-on-Shield competition also flourished.

       45.     However, by the late 1940s, the Blue plans faced growing competition not just

from each other, but also from commercial insurance companies that had recognized the success

of the Blue plans and were now entering the market. Between 1940 and 1946, the number of

hospitalization policies held by commercial insurance companies rose from 3.7 million to 14.3

million policies. While the Blues remained dominant in most markets, this growth of

competition was a threat. In particular, unlike the Blue plans, these commercial insurance

companies were able to offer uniform nationwide contracts, which were attractive to large

employers or unions with members located in different cities and states.



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       46.     From 1947-1948, the Blue Cross Commission and the AMCP attempted to

develop a national agency for all Blue plans, to be called the Blue Cross and Blue Shield Health

Service, Inc., but the proposal failed. One reason given for its failure was the AMA’s fear that a

restraint of trade action might result from such cooperation.

       47.     Even when the Plans were putatively cooperating, as they appeared to be in the

1950s while competing with commercial insurers for the opportunity to provide insurance to

federal government employees, they were at war. As the former marketing chief of the National

Association of Blue Shield Plans admitted, “Blue Cross was separate; Blue Shield was separate.

Two boards; two sets of managements. Rivalries, animosities, some days . . . pure, unadulterated

hatred of each other.”

       48.     To address competition from commercial insurers and competition from other

Blue plans, and to ensure “national cooperation” among the different Blue entities, the plans

agreed to centralize the ownership of their trademarks and trade names. In prior litigation,

BCBSA has asserted that the local plans transferred their rights in the Blue Cross and Blue

Shield names and marks to the precursors of BCBSA because the local plans, which were

otherwise actual or potential competitors, “recognized the necessity of national cooperation.”

       49.     Thus, in 1954, the Blue Cross plans transferred their rights in each of their

respective Blue Cross trade names and trademarks to the AHA. In 1972, the AHA assigned its

rights in these marks to the Blue Cross Association.

       50.     Likewise, in 1952, the Blue Shield plans agreed to transfer their ownership rights

in their respective Blue Shield trade names and trademarks to the National Association of Blue

Shield Plans, which was renamed the Blue Shield Association in 1976.



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       51.     During the 1970s, local Blue Cross and Blue Shield plans all over the U.S. began

merging. By 1975, the executive committees of the Blue Cross Association and the National

Association of Blue Shield Plans were meeting four times a year. In 1978, the Blue Cross

Association and the National Association of Blue Shield Plans (now called the Blue Shield

Association) consolidated their staffs, although they retained separate boards of directors.

       52.     In 1982, the Blue Cross Association and the Blue Shield Association merged to

form BCBSA. At that time, BCBSA became the sole owner of the various Blue Cross and Blue

Shield trademarks and trade names that had previously been owned by the local plans.

       53.     In November 1982, after heated debate, BCBSA’s member plans agreed to two

propositions: that by the end of 1984, all existing Blue Cross plans and Blue Shield plans should

consolidate at a local level to form Blue Cross and Blue Shield plans; and that by the end of

1985, all Blue plans within a state should further consolidate, ensuring that each state would

have only one Blue plan. As a result of these goals, the number of member plans went from 110

in 1984, to 75 in 1989, to 38 today. However, the goals did not end competition between Blue

plans. In the early 1980s, for example, Blue Cross of Northeastern New York and Blue Shield of

Northeastern New York competed head-to-head.

       54.     During the 1980s and afterwards, the plans began to operate less like charitable

entities and more like for-profit corporations, accumulating substantial surpluses. In 1986,

Congress revoked the Blues’ tax-exempt status, freeing them to form for-profit subsidiaries.

       55.     In 1992, BCBSA ceased requiring Blue Cross and Blue Shield licensees to be not-

for-profit entities. As a result, many member plans, including BCBS-New Hampshire, converted

to for-profit status. BCBS-New Hampshire’s parent company, WellPoint, has grown to become

the largest health insurance company in the country, at least by some measures.                Others

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attempted to convert to for-profit status but failed. BCBS-New Hampshire, a subsidiary of

WellPoint, generates substantial earnings and surpluses, and pay their senior administrators and

officials substantial salaries and bonuses – often in the multi-million dollar range.

       56.     From 1981 to 1986, the Blue plans lost market share at a rate of approximately

one percent per year. At the same time, the amount of competition among Blue plans, and from

non-Blue subsidiaries of Blue plans, increased substantially. As a result of this increased

competition, in April of 1987, the member plans of BCBSA held an “Assembly of Plans” -- a

series of meetings held for the purpose of determining how they would and would not compete

against each other. During these meetings, these independent health insurers and competitors

agreed to maintain exclusive service areas when operating under the Blue brand, thereby

eliminating “Blue on Blue” competition. However, the Assembly of Plans left open the

possibility of competition from non-Blue subsidiaries of Blue plans – an increasing “problem”

that had caused complaints from many Blue plans.

       57.     Throughout the 1990s, the number of non-Blue subsidiaries of Blue plans

increased, and they continued to compete with Blue plans. As a result, the member plans of

BCBSA discussed ways to rein in such non-Blue branded competition.

       58.     At some later date, the Blue Cross and Blue Shield plans together agreed to

restrict the territories in which they would operate under any brand, Blue or non-Blue, as well as

the ability of non-members of BCBSA to control or acquire the member plans. These illegal

restraints are discussed below.

              Allegations Demonstrating Control of BCBSA By Member Plans




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       59.     BCBSA calls itself “a national federation of 38 independent, community-based

and locally operated Blue Cross and Blue Shield companies” and “the trade association for the

Blue Cross Blue Shield companies.”

       60.     BCBSA is entirely controlled by its member plans, all of whom are independent

health insurance companies that license the Blue Cross and/or Blue Shield trademarks and trade

names, and that, but for any agreements to the contrary, could and would compete with one

another. On its website, BCBSA admits that in its “unique structure,” “the Blue Cross and Blue

Shield companies are [its] customers, [its] Member Licensees and [its] governing Board.”

       61.     As at least one federal court has recognized, BCBSA “is owned and controlled by

the member plans” to such an extent that “by majority vote, the plans could dissolve the

Association and return ownership of the Blue Cross and Blue Shield names and marks to the

individual plans.” Central Benefits Mut. Ins. Co. v. Blue Cross and Blue Shield Ass’n, 711 F.

Supp. 1423, 1424-25 (S.D. Ohio 1989).

       62.     The Blue Cross and Blue Shield licensees control the Board of Directors of

BCBSA. In a pleading it filed during litigation in the Northern District of Illinois, BCBSA

admitted that its Board of Directors consists of “the chief executive officer from each of its

Member Plans and BCBSA’s own chief executive officer.” The current chairman of the Board

of Directors, Alphonso O’Neil-White, is also the current President and CEO of BlueCross

BlueShield of Western New York. The Board of Directors of BCBSA meets at least annually,

including from November 3-4, 2010 in Chicago, IL.

                     License Agreements and Restraints on Competition

       63.     The independent Blue Cross and Blue Shield licensees also control BCBSA’s

Plan Performance and Financial Standards Committee (the “PPFSC”), a standing committee of

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the BCBSA Board of Directors that is composed of nine member Plan CEOs and three

independent members.

       64.     The independent Blue Cross and Blue Shield licensees control the entry of new

members into BCBSA. In a brief it filed during litigation in the Sixth Circuit Court of Appeals,

BCBSA admitted that “[t]o be eligible for licensure, [an] applicant . . . must receive a majority

vote of [BCBSA’s] Board” and that BCBSA “seeks to ensure that a license to use the Blue

Marks will not fall into the hands of a stranger the Association has not approved.”

       65.     The independent Blue Cross and Blue Shield licensees control the rules and

regulations that all members of BCBSA must obey. According to a brief BCBSA filed during

litigation in the Sixth Circuit Court of Appeals, these rules and regulations include the Blue

Cross License Agreement and the Blue Shield License Agreement (collectively, the “License

Agreements”), the Membership Standards Applicable to Regular Members (the “Membership

Standards”), and the Guidelines to Administer Membership Standards (the “Guidelines”).

       66.     The License Agreements state that they “may be amended only by the affirmative

vote of three-fourths of the Plans and three-fourths of the total then current weighted vote of all

the Plans.” In a brief it filed during litigation in the Sixth Circuit Court of Appeals, BCBSA

described the provisions of the License Agreements as something the member plans “deliberately

chose,” “agreed to,” and “revised.” The License Agreements explicitly state that the member

plans most recently met to adopt amendments, if any, to the licenses on June 21, 2012.

       67.     Under the terms of the License Agreements a plan “agrees . . . to comply with the

Membership Standards.” The Guidelines state that the Membership Standards and the

Guidelines “were developed by the [PPFSC] and adopted by the Member Plans in November

1994 and initially became effective as of December 31, 1994;” that the Membership Standards

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“remain in effect until otherwise amended by the Member Plans;” that revisions to the

Membership Standards “may only be made if approved by a three-fourths or greater affirmative

Plan and Plan weighted vote;” that “new or revised [G]uidelines shall not become effective . . .

unless and until the Board of Directors approves them;” and that “[t]he PPFSC routinely

reviews” the Membership Standards and Guidelines “to ensure that . . . all requirements

(standards and guidelines) are appropriate, adequate and enforceable.”

       68.     The independent Blue Cross and Blue Shield licensees police the compliance of

all members of BCBSA with the rules and regulations of BCBSA. The Guidelines state that the

PPFSC “is responsible for making the initial determination about a Plan’s compliance with the

license agreements and membership standards. Based on that determination, PPFSC makes a

recommendation to the BCBSA Board of Directors, which may accept, reject, or modify the

recommendation.” In addition, the Guidelines state that “BCBSA shall send a triennial

membership compliance letter to each [member] Plan’s CEO,” which includes, among other

things, “a copy of the Membership Standards and Guidelines, a report of the Plan’s licensure and

membership status by Standard, and PPFSC comments or concerns, if any, about the Plan’s

compliance with the License Agreements and Membership Standards.” In response, “[t]he Plan

CEO or Corporate Secretary must certify to the PPFSC that the triennial membership compliance

letter has been distributed to all Plan Board Members.”

       69.     The independent Blue Cross and Blue Shield licensees control and administer the

disciplinary process for members of BCBSA that do not abide by BCBSA’s rules and

regulations. The Guidelines describe three responses to a member plan’s failure to comply—

“Immediate Termination,” “Mediation and Arbitration,” and “Sanctions”—each of which is

administered by the PPFSC and could result in the termination of a member plan’s license.

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        70.     The independent Blue Cross and Blue Shield licensees control the termination of

existing members from BCBSA. The Guidelines state that based on the PPFSC’s “initial

determination about a Plan’s compliance with the license agreements and membership standards.

. . . PPFSC makes a recommendation to the BCBSA Board of Directors, which may accept,

reject, or modify the recommendation.” However, according to the Guidelines, “a Plan’s

licenses and membership [in BCBSA] may only be terminated on a three-fourths or greater

affirmative Plan and Plan weighted vote.” In a brief filed during litigation in the Sixth Circuit

Court of Appeals, BCBSA admitted that the procedure for terminating a license agreement

between BCBSA and a member plan includes a “double three-quarters vote” of the member

plans of the BCBSA: “In a double three-quarters vote, each plan votes twice – first with each

Plan’s vote counting equally, and then with the votes weighted primarily according to the

number of subscribers.”

                                      Horizontal Agreements

        71.     The independent Blue Cross and Blue Shield licensees are potential competitors

that use their control of BCBSA to coordinate their activities. As a result, the rules and

regulations imposed “by” the BCBSA on the member plans are in truth imposed by the member

plans on themselves.

        72.     Each BCBSA licensee is an independent legal organization. In a pleading

BCBSA filed during litigation in the Southern District of Florida, BCBSA admitted that “[t]he

formation of BCBSA did not change each plan’s fundamental independence.” In fact, the

License Agreements state that “[n]othing herein contained shall be construed to constitute the

parties hereto as partners or joint venturers, or either as the agent of the other.”



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       73.     The independent Blue Cross and Blue Shield licensees include many of the largest

health insurance companies in the United States. The largest health insurance company in the

nation by some measures is WellPoint, a BCBSA licensee and BCBS-New Hampshire’s parent

company. Similarly, fifteen of the twenty-five largest health insurance companies in the country

are BCBSA licensees. On its website, BCBSA asserts that its members together provide

“coverage for more than 98 million individuals – one-in-three Americans” and “contract[] with

more hospitals and physicians than any other insurer.” Absent the restrictions that the

independent Blue Cross and Blue Shield licensees have chosen to impose on themselves,

discussed below, these companies would compete against each other in the market for

commercial health insurance.

       74.     In a brief it filed during litigation in the Sixth Circuit Court of Appeals, BCBSA

admitted that the Member Plans formed the precursor to BCBSA when they “recognized the

necessity of national coordination.” The authors of The Blues: A History of the Blue Cross and

Blue Shield System describe the desperation of the Blue Cross and Blue Shield licensees before

they agreed to impose restrictions on themselves:

       The subsidiaries kept running into each other—and each other’s parent Blue Plans—in
       the marketplace. Inter-Plan competition had been a fact of life from the earliest days, but
       a new set of conditions faced the Plans in the 1980s, now in a mature and saturated
       market. New forms of competition were springing up at every turn, and market share
       was slipping year by year. Survival was at stake. The stronger business pressure
       became, the stronger the temptation was to breach the service area boundaries for which
       the Plans were licensed . . . .

On its website, BCBSA admits that “[w]hen the individual Blue companies’ priorities, business

objectives and corporate culture conflict, it is our job to help them develop a united vision and

strategy” and that it “[e]stablishes a common direction and cooperation between [BCBSA] and

the 39 [now 38] Blue companies.” As BCBSA’s general counsel, Roger G. Wilson, explained to

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the Insurance Commissioner of Pennsylvania, “BCBSA’s 39 [now 38] independent licensed

companies compete as a cooperative federation against non-Blue insurance companies.” One

BCBSA member plan admitted in its February 17, 2011 Form 10-K that “[e]ach of the [38]

BCBS companies . . . works cooperatively in a number of ways that create significant market

advantages . . . .”

        75.     As the foregoing demonstrates, BCBSA is a vehicle used by independent health

insurance companies to enter into agreements that restrain competition. Because BCBSA is

owned and controlled by its member plans, any agreement between BCBSA and one of its

member plans constitutes a horizontal agreement between and among the member plans

themselves.

      The Horizontal Agreements Not To Compete In The Licensing Arrangements
  Between BCBSA And Its Member Plans, Including BCBS-New Hampshire, Are Per Se
                           Violations Of The Sherman Act

        76.     The rules and regulations of BCBSA, including, but not limited to, the License

Agreements, the Membership Standards, and the Guidelines, constitute horizontal agreements

between competitors, the independent Blue Cross and Blue Shield licensees, to divide the

geographic market for health insurance. As such, they are a per se violation of Section 1 of the

Sherman Act.

        77.     Through the License Agreements, which the independent Blue Cross and Blue

Shield licensees created, control, and enforce, each independent Blue Cross and Blue Shield

licensee agrees that neither it nor its subsidiaries will compete under the licensed Blue Cross and

Blue Shield trademarks and trade names outside of a designated “Service Area.” The License

Agreement defines each licensee’s Service Area as “the geographical area(s) served by the Plan

on June 10, 1972, and/or as to which the Plan has been granted a subsequent license.”

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       78.     Through the Guidelines and Membership Standards, which the independent Blue

Cross and Blue Shield licensees created, control, and enforce, and with which each licensee must

agree to comply as part of the License Agreements, each independent Blue Cross and Blue

Shield licensee agrees that at least 80 percent of the annual revenue that it or its subsidiaries

generate from within its designated Service Area (excluding Medicare and Medicaid) shall be

derived from services offered under the licensed Blue Cross and Blue Shield trademarks and

trade names. This provision directly limits the ability of each Blue plan to generate revenue

from non-Blue branded business. This provision also thereby limits the ability of each plan to

develop non-Blue brands that could and would compete with Blue plans. It further discourages

and disincentivizes each plan from developing any non-Blue branded businesses.

       79.     Through the Guidelines and Membership Standards, each independent Blue Cross

and Blue Shield licensee further agrees that at least two-thirds of the annual revenue generated

by it or its subsidiaries from either inside or outside of its designated Service Area (excluding

Medicare and Medicaid) shall be attributable to services offered under the Blue Cross and Blue

Shield trademarks and trade names. The Guidelines provide that national enrollment can be

substituted for annual revenue, making the alternative restriction that a plan will derive no less

than 66-2/3 percent of its national enrollment from its Blue-brand business. This provision

directly limits the ability of each Blue plan to generate revenue from non-Blue branded business,

and thereby limits the ability of each plan to develop non-Blue brands that could and would

compete with Blue plans. It further discourages and disincentivizes each plan from developing

any non-Blue branded businesses.

       80.     The one-third cap on non-Blue revenue provides a licensee with minimal, if any,

incentive to compete outside its Service Area. To do so, the licensee would have to buy, rent, or

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build a provider network under a non-Blue brand, while ensuring that revenue derived from that

brand did not exceed the one-third cap. Should the licensee offer services and products under the

non-Blue brand within its Service Area (which is likely, since that is its base of operations), that

would further reduce the amount of non-Blue revenue it is permitted to earn from outside its

designated area. Thus, the potential upside of making an investment in developing business

outside of a designated area is severely limited, which obviously creates a disincentive from ever

making that investment.

       81.     In sum, each independent Blue Cross and Blue Shield licensee has agreed with its

potential competitors that in exchange for having the exclusive right to use the Blue brand within

a designated geographic area, it will derive none of its revenue from services offered under the

Blue brand outside of that area, and will derive at most one-third of its revenue from outside of

its exclusive area, using services offered under a non-Blue brand. The latter amount will be

further reduced if the licensee derives any of its revenue within its designated geographic area

from services offered under a non-Blue brand.

       82.     The foregoing restrictions on the ability of Blue plans to generate revenue outside

of their service areas constitute agreements between competitors to divide and allocate

geographic markets, and therefore are per se violations of Section 1 of the Sherman Act.

       83.     More than one Blue Cross and Blue Shield licensee has publicly admitted the

existence of these territorial market divisions. For example, the former Blue Cross licensee in

Ohio alleged that BCBSA member plans agreed to include these restrictions in the Guidelines in

1996 in an effort to block the sale of one member plan to a non-member that might present

increased competition to another member plan.



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       84.     The largest Blue licensee, WellPoint, is a publicly-traded company, and therefore

is required by the SEC rules to describe the restrictions on its ability to do business. Thus, in its

Form 10-K filed February 17, 2011, WellPoint stated that it had “no right to market products and

services using the BCBS names and marks outside of the states in which we are licensed to sell

BCBS products,” and that “[t]he license agreements with the BCBSA contain certain

requirements and restrictions regarding our operations and our use of the BCBS names and

marks, including . . . a requirement that at least 80% . . . of a licensee’s annual combined net

revenue attributable to health benefit plans within its service area must be sold, marketed,

administered or underwritten under the BCBS names and marks” and “a requirement that at least

66 2/3% of a licensee’s annual combined national revenue attributable to health benefit plans

must be sold, marketed, administered or underwritten under the BCBS names and marks.”

       85.     Likewise, in its Form 10-K filed March 9, 2011, Triple-S Salud, the Blue licensee

for Puerto Rico, explained that “[p]ursuant to our license agreements with BCBSA, at least 80%

of the revenue that we earn from health care plans and related services in [its Service Area] and

at least 66.7% of the revenue that we earn from (or at least 66.7% of the enrollment for) health

care plans and related services both in [and outside its Service Area], must be sold, marketed,

administered, or underwritten through use of the Blue Cross Blue Shield name and mark.”

Further, the Triple-S licensee stated that the territorial restrictions “may limit the extent to which

we will be able to expand our health care operations, whether through acquisitions of existing

managed care providers or otherwise, in areas where a holder of an exclusive right to the Blue

Cross Blue Shield name and mark is already present.”

       86.     Despite these public admissions, both BCBSA and its member plans have

attempted to keep the territorial restrictions as secret as possible. When asked by the Insurance

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Commissioner of Pennsylvania to “[p]lease describe any formal or informal limitations that

BSBSA [sic] places on competition among holders of the [Blue] mark as to their use of

subsidiaries that do not use the mark,” BCBSA’s general counsel responded that “BCBSA

licensed companies may compete anywhere with non-Blue branded business . . . . The rules on

what the plans do in this regard are contained in the license. However, the license terms

themselves are proprietary to BCBSA, and . . . we would prefer not to share such trade secrets

with BCBSA’s competitors.”

       87.     The member plans of BCBSA have agreed to impose harsh penalties on those that

violate the territorial restrictions. According to the Guidelines, a licensee that violates one of the

territorial restrictions could face “[l]icense and membership termination.” If a member plan’s

license and membership are terminated, it loses the use of the Blue brands, which BCBSA

admits on its website are “the most recognized in the health care industry.” In addition, in the

event of termination, a plan must pay a fee to BCBSA. According to WellPoint’s February 22,

2013 Form 10-K filing, that “Re-establishment Fee,” which was $98.33 per enrollee through

December 31, 2012, “would allow the BCBSA to ‘re-establish’ a Blue Cross and/or Blue Shield

license in the vacated service area.”

       88.     In sum, a terminated licensee would (1) lose the brand through which it derived

the majority of its revenue; and (2) fund the establishment of a competing health insurer that

would replace it as the Blue licensee in its local area. These penalties essentially threaten to put

out of existence any Blue member plan that breaches the territorial restrictions.

       89.     It is unsurprising, then, that most member plans do not operate outside of their

Service Areas. Thus, while there are numerous Blue plans, and non-Blue businesses owned by

such plans, that could and would compete effectively in New Hampshire but for the territorial

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restrictions, at present there are no Blue plans other than BCBS-New Hampshire, and no non-

Blue affiliates of any Blue plans, competing in the commercial health insurance market in New

Hampshire. The territorial restrictions have therefore barred all competition by all of the Blue

plans (other than BCBS-New Hampshire) and all of their non-Blue branded business lines from

the New Hampshire commercial health insurance market.

       90.     Even in the relatively rare instance, in other states, in which Blue plans conduct

operations outside of their Service Areas, they have been required to keep those operations

tightly under control by preventing growth – exactly the opposite of how they would normally

operate. The relationship between WellPoint and its non-Blue subsidiary, UniCare, is an

illustrative example. WellPoint reported in its Form 10-K for the year ending December 31,

1999 that approximately 70 percent of its total medical membership was sold by its Blue-

licensed subsidiary, Blue Cross of California. In its Form 10-K for the year ending December

31, 2000, this percentage decreased to approximately 67 percent. In its Form 10-K for the year

ending December 31, 2001, after WellPoint had acquired the BCBSA member plans operating in

Georgia and part of Missouri, it reported that approximately 78 percent of its total medical

membership was in its Blue-licensed subsidiaries. By the time WellPoint filed its 10-K for the

year ending December 31, 2005, it had acquired the Blue licensees in fourteen states. For the

first time, it admitted the existence of the territorial restrictions in the BCBSA licenses and stated

that it was in compliance with them. This may explain why, from 1999 to 2002, while other

Texas health insurers experienced average revenue growth of 17 percent, UniCare experienced

growth of only 1.4 percent in Texas. During those same years, UniCare experienced virtually no

growth in the state of Washington, while overall health insurance revenue in the state grew by 17

percent. Similarly, in New Jersey from 2000 to 2002, the number of out-of-Service-Area

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enrollees of WellChoice (now part of WellPoint and known as Empire BlueCross BlueShield)

did not increase, despite an overall 25 percent growth rate for health insurers in the state during

the same period. In Mississippi, between 2001 and 2002, premium revenue earned by most

health insurance companies increased by more than 10 percent, but revenue for the non-Blue

business of out-of-state Blue plans was either flat (in the case of UniCare) or negative (in the

case of Anthem, now part of WellPoint).

       91.     In another example, as of 2010, one Pennsylvania Blue plan, Independence Blue

Cross, had 2.4 million Blue-brand commercial health insurance enrollees in its service area of

Southeastern Pennsylvania, and had close to 1 million non-Blue brand Medicare and Medicaid

enrollees (to which the territorial restrictions do not apply) in Indiana, Kentucky, Pennsylvania,

and South Carolina, but its non-Blue brand commercial health insurance subsidiary,

AmeriHealth, which operates in New Jersey and Delaware, had an enrollment of only

approximately 130,000, or 4 percent of Independence Blue Cross’s total commercial health

insurance enrollment.

       92.     Thus, the territorial restrictions agreed to by all BCBSA members operate to

restrain competition by preventing member plans from competing with each other and with non-

Blue plans. These prohibitions on competition apply no matter how favorable the efficiencies

and economies of scale that might result from expansion of a Blue into a new area, and no matter

how much premiums and other costs might be reduced if competition were permitted.

    The Anticompetitive Acquisition Restrictions In The BCBSA Licensing Agreements

       93.     In addition to the per se illegal territorial restrictions summarized above, the rules

and regulations of BCBSA, which BCBS-New Hampshire and the other independent Blue Cross



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and Blue Shield licensees created, control, and agree to obey, also include provisions that restrict

the ability of non-members of BCBSA to acquire or obtain control over any member plan.

       94.     First, the Guidelines state that “[n]either a [Member] Plan nor any Larger

Controlled Affiliate shall cause or permit an entity other than a [Member] Plan or a Licensed

Controlled Affiliate thereof to obtain control of the [Member] Plan or Larger Controlled Affiliate

or to acquire a substantial portion of its assets related to licensable services.” Should a non-

member wish to obtain such control or assets, it “is invited to apply to become a licensee.”

However, as alleged above, the member plans control the entry of new members into BCBSA.

Should a non-member attempt to join BCBSA in order to obtain control of, or to acquire a

substantial portion of, the assets of a member plan, the other member plans could block its

membership by majority vote.

       95.     Second, the License Agreements contain a number of acquisition restrictions

applicable to for-profit Blue Cross and Blue Shield licensees (i.e., to those licensees who would

otherwise be capable of having their shares acquired). These include four situations in which a

member plan’s license will terminate automatically: (1) if any institutional investor become

beneficially entitled to 10 percent or more of the voting power of the member plan; (2) if any

non-institutional investor become beneficially entitled to 5 percent or more of the voting power

of the member plan; (3) if any person become beneficially entitled to 20 percent of more of the

member plan’s then-outstanding common stock or equity securities; or (4) if the member plan

conveys, assigns, transfers, or sells substantially all of its assets to any person, or consolidates or

merges with or into any person, other than a merger in which the member plan is the surviving

entity and in which, immediately after the merger, no institutional investor is beneficially entitled

to 10 percent or more of the voting power, no non-institutional investor is beneficially entitled to

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5 percent or more of the voting power, and no person is beneficially entitled to 20 percent of

more of the then-outstanding common stock or equity securities. These restrictions apply unless

modified or waived in particular circumstances upon the affirmative vote both of a majority of

the disinterested member plans and also of a majority weighted vote of the disinterested member

plans. These restraints effectively preclude the sale of a BCBSA member to a non-member

entity, absent special approval.

       96.     These acquisition restraints reduce competition in violation of the Sherman Act

because they substantially reduce the ability of non-member insurance companies to expand their

business. In order to expand into a new geographic area, a non-member insurance company

faces the choice of whether to build its own network in that area, or to acquire a network by

buying some or all of an existing plan doing business in that area. Through the acquisition

restrictions, the Blue plans have conspired to force competitors to build their own networks, and

have effectively prohibited those competitors from ever choosing what may often be the more

efficient solution of acquiring new networks by purchasing some or all of an existing Blue plan.

Blue provider networks may often be the most cost-effective due to historical tax breaks,

favorable legislation, and long-term presence in a region. By preventing non-Blue entities from

acquiring Blue entities and their networks, the acquisition restrictions in the BCBSA licenses

effectively force competitors to adopt less efficient methods of expanding their networks,

thereby reducing and in some instances eliminating competition.

       97.     Since the 1996 adoption of the acquisition restrictions, the only acquisitions of

Blue Cross or Blue Shield licensees have been acquisitions by other member plans. During the

period from 1996 to the present, there has been a wave of consolidation among the Blue plans:

in 1996, there were 62 Blue licensees; at present, there are only 38.

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       98.     By agreeing to restrict the pool of potential purchasers of a Blue licensee to other

Blue licensees, the member plans of BCBSA raise the costs their rivals must incur to expand

their networks and areas of practice, reduce efficiency, and protect themselves and each other

from competition. The net effect is less competition and higher premium costs for consumers,

including enrollees of BCBS-New Hampshire.

                             The BCBSA Licensing Agreements
                        Have Reduced Competition In New Hampshire

       99.     BCBS-New Hampshire, as a licensee, member, and part of the governing body of

BCBSA, has conspired with the other member plans of BCBSA to create, approve, abide by, and

enforce the rules and regulations of BCBSA, including the per se illegal territorial restrictions in

the License Agreements and Guidelines. Many of the member plans with which BCBS-New

Hampshire has conspired would otherwise be significant competitors of BCBS-New Hampshire

in New Hampshire.

       100.    For example, Blue Cross and Blue Shield of Massachusetts is the seventeenth

largest health insurer in the country by total medical enrollment, with approximately 3 million

enrollees in its Service Area of Massachusetts. But for the illegal territorial restrictions

summarized above, Blue Cross and Blue Shield of Massachusetts would be likely to offer its

health insurance services and products in New Hampshire in competition with BCBS-New

Hampshire. Such competition would result in lower health care costs and premiums paid by

BCBS-New Hampshire enrollees.

       101.    Blue Cross and Blue Shield of Rhode Island is by far the largest health insurance

company operating in Rhode Island and currently exercises market power in the commercial

health insurance market throughout Rhode Island. As of May 2011, at least 83 percent, and


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likely more, of the Rhode Island residents who subscribe to individual and small group full-

service commercial health insurance are subscribers of Blue Cross and Blue Shield of Rhode

Island. But for the illegal territorial restrictions summarized above, Blue Cross and Blue Shield

of Rhode Island would be likely to offer its health insurance services and products in New

Hampshire in competition with BCBS-New Hampshire. Such competition would result in lower

health care costs and premiums paid by BCBS-New Hampshire enrollees.

       102.    Indeed, there are dozens of other Blue plans that would and could compete in

New Hampshire but for the illegal territorial restrictions. As alleged above, fifteen of the

twenty-five largest health insurance companies in the country are Blue plans: if all of these

plans, together with all other BCBSA members, were able to compete in New Hampshire, the

result would be lower costs and thus lower premiums paid by BCBS-New Hampshire enrollees.

        BCBS-New Hampshire Market Power In Relevant New Hampshire Markets

       103.    BCBS-New Hampshire has market power in the sale of full-service commercial

health insurance to individuals and small groups in relevant geographic markets throughout the

state of New Hampshire.

Relevant Product Market:

       104.    The relevant product market is the sale of full-service commercial health

insurance products to individuals and small groups.

       105.    To properly define a health insurance product market, it is useful to consider the

range of health insurance products for sale and the degree to which these products substitute for

one another, i.e., whether, in a competitive market, an increase in the price of one product would

increase demand for the second product. The characteristics of different products are important



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factors in determining their substitutability. For a health insurance product, important

characteristics include:

       106.    Commercial versus government health insurance: Unlike commercial health

insurance products, government health insurance programs such as Medicare and Medicaid and

privately operated government health insurance programs such as Medicare Advantage are

available only to individuals who are disabled, elderly, or indigent. Therefore, commercial

health insurance and government health insurance programs are not substitutes.

       107.    Full-service versus single-service health insurance: Full-service health insurance

provides coverage for a wide range of medical and surgical services provided by hospitals,

physicians, and other health care providers. In contrast, single-service health insurance provides

narrow coverage restricted to a specific type of health care, e.g., dental care. Single-service

health insurance is sold as a compliment to full-service health insurance when the latter excludes

from coverage a specific type of health care, e.g., dental care. Thus, full-service health insurance

and single-service health insurance are not substitutes.

       108.    Full-service commercial health insurance includes HMO products and PPO

products, among others. Traditionally, HMO health insurance plans pay benefits only when

enrollees use in-network providers; PPO health insurance plans pay a higher percentage of costs

when enrollees use in-network providers and a lower percentage of costs when enrollees use out-

of-network providers. Both types of full-service commercial health insurers compete for

consumers based on the price of the premiums they charge, the quality and breadth of their

health care provider networks, the benefits they do or do not provide (including enrollees’ out-

of-pocket costs such as deductibles, co-payment, and coinsurance), customer service, and



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reputation, among other factors. Economic research suggests that HMO and PPO health

insurance products are substitutes.

       109.    Fully-insured health insurance versus ASO products: When a consumer

purchases a fully-insured health insurance product, the entity from which the consumer

purchases that product provides a number of services: it pays its enrollees’ medical costs, bears

the risk that its enrollees’ health care claims will exceed its anticipated losses, controls benefit

structure and coverage decisions, and provides “administrative services” to its enrollees, e.g.,

processes medical bills and negotiates discounted prices with providers. In contrast, when a

consumer purchases an administrative services only (“ASO”) product, sometimes known as “no

risk,” the entity from which the consumer purchases that product provides administrative

services only. Therefore, fully-insured health insurance products and ASO products are only

substitutes for those consumers able to self-insure, i.e., able to pay their own medical costs and

bear the risk that claims will exceed their anticipated losses.

       110.    Individual, small group, and large group consumers: Consumers of health

insurance products include both individuals and groups, such as employers who select a plan to

offer to their employees and typically pay a portion of their employees’ premiums. Group

consumers are broken down into two categories, small group and large group, based on the

number of persons in the group. The Kaiser Family Foundation, which publishes an influential

yearly survey of employer health benefits offered across the United States, defines small firms as

those with 3-199 employees and large firms as those with 200 or more employees.

       111.    For the purposes of market division, it is appropriate to consider the individual

and small group health insurance product market as distinct from the large group health

insurance product market. In the former, consumers are largely unable to self-insure and

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competition is therefore restricted to plans that offer fully-insured health insurance products; in

the latter, consumers are able to self-insure and the bulk of competition occurs between firms

offering ASO products. Across the United States, 84 percent of small group consumers do not

self-insure, while 83 percent of large group consumers do self-insure. Even apart from the

prevalence of ASO products in each market, individual, small group, and large group product

markets are distinct because health insurers can set different prices for these different consumers.

Thus, pricing in the large group market would not impact competition in the small group market,

and vice versa.

       112.       Data on enrollment in full-service commercial health insurance: There is a dearth

of reliable data on the market share of insurers selling full-service commercial health insurance

products to individual and small group consumers in New Hampshire. The only publicly

available data Plaintiffs have found on the New Hampshire market share of fully-insured, full-

service commercial health insurers is from New Hampshire Insurance Department. Thus, unless

otherwise noted, Plaintiffs rely on the aforementioned enrollment data to calculate BCBS-New

Hampshire’s share of the relevant product market. The most recent data available from the new

Hampshire Insurance Department measures enrollment as of 2011.

Relevant Geographic Markets:

       113.       In defining a geographic market, it is important to focus on an essential part of a

full-service commercial health insurer’s product: its provider network. An insurer’s provider

network is composed of the health care providers with which it contracts. Enrollees in both

HMO and PPO full-service commercial health insurance products pay less for an “in-network”

provider’s health care services than they would for the same services from an “out of network”

provider. As a result, health insurance consumers pay special attention to an insurer’s provider

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network when choosing a health insurance product, preferring insurers with networks that

include local providers. This suggests that health insurers compete in distinct geographic

markets.

       114.    There are a number of different ways to analyze the geographic markets for the

sale of full-service commercial health insurance to individual and small group consumers in New

Hampshire. The potentially relevant geographic markets could be defined alternatively as (a)

New Hampshire, BCBS-New Hampshire’s service area; and (b) the 16 regions, known as

“Metropolitan Statistical Areas,” “Micropolitan Statistical Areas,” and counties, into which the

U.S. Office of Management and Budget divides New Hampshire. However the geographic

market is defined, the result is the same: BCBS-New Hampshire has the dominant market

position, and exercises market power.

       115.    BCBS-New Hampshire does business throughout the state of New Hampshire, is

licensed to use the Blue Cross and Blue Shield trademarks and trade names throughout the state

of New Hampshire, and has agreed with the other member plans of BCBSA that only BCBS-

New Hampshire will do business in New Hampshire under the Blue brand. Therefore, the state

of New Hampshire can be analyzed as a relevant geographic market within which to assess the

effects of BCBS-New Hampshire’s anticompetitive conduct.             As of 2010, BCBS New

Hampshire held at least a 67 percent market share for individual subscribers and 60 percent

market share of the individual subscribers.

       116.    The U.S. Office of Management and Budget divides New Hampshire into

Metropolitan Statistical Areas and Micropolitan Statistical Areas according to published

standards applied to U.S. Census Bureau data.        It states that “[t]he general concept of a

metropolitan or micropolitan statistical area is that of a core area containing a substantial

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population nucleus, together with adjacent communities having a high degree of economic and

social integration with that core.” Therefore, New Hampshire’s one Metropolitan Statistical

Areas,1 and 5 Micropolitan Statistical Areas2 is a relevant geographic market within which to

assess the effects of BCBS-New Hampshire’s anticompetitive conduct. Currently, there is no

publicly available data that would enable Plaintiffs to calculate BCBS-New Hampshire’s share of

the relevant product market in each of these relevant geographic markets. However, BCBS-New

Hampshire is able to provide this information.

        117.   BCBS-New Hampshire’s powerful market share is far from the only evidence of

its market power. As alleged below, BCBS-New Hampshire’s market power has significantly

raised costs, resulting in skyrocketing premiums for BCBS-New Hampshire enrollees.

                       Inflated Premiums Charged By BCBS-New Hampshire

        118.   From April 24, 2009 to the present, BCBS-New Hampshire’s illegal

anticompetitive conduct, including its territorial market division agreements with the thirty-seven

other members of BCBSA, has increased health care costs in New Hampshire, leading to

artificially inflated and supra-competitive premiums for individuals and small groups purchasing

BCBS-New Hampshire’s full-service commercial health insurance in the relevant geographic

markets. BCBS-New Hampshire’s market power and its use of anticompetitive practices in New

Hampshire have reduced the amount of competition in the market and ensured that BCBS-New

Hampshire’s few competitors face higher costs than BCBS-New Hampshire does. Without


1
    Rockingham County-Strafford County,NH.
2
 Claremont-Lebanon, NH-VT (part); Concord, NH; Keene, NH; Laconia, NH; Manchester-
Nashua, NH.



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competition, and with the ability to increase premiums without losing customers, BCBS-New

Hampshire faces little pressure to keep costs low.

       119.     Over the past decade, BCBS-New Hampshire generally raised individual and

small group premiums by amounts greater than the national average. For example, from 2009 to

2010 the cost of insurance coverage for small groups and individuals rose 15% and 39%,

respectively.

       120.     These rising premiums have enabled BCBS-New Hampshire to lavishly

compensate its executives and grow its surplus in excessive amounts. As a result of these and

other inflated premiums, Between 2006 and 2011, BCBS-New Hampshire reported annual

income between $26 million and $112 million and a cumulative profit of approximately $360

million during that period.

                                    VIOLATIONS ALLEGED

                                           Count One
                   (Contract, Combination, or Conspiracy in Restraint of Trade
                             in Violation of Sherman Act, Section 1)

       121.     Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       122.     The License Agreements, Membership Standards, and Guidelines agreed to by

BCBS-New Hampshire and BCBSA represent horizontal agreements entered into between

BCBS-New Hampshire and the thirty-seven other member plans of BCBSA, all of whom are

competitors or potential competitors in the market for commercial health insurance.

       123.     Each of the License Agreements, Membership Standards, and Guidelines entered

into between BCBSA and BCBS-New Hampshire represents a contract, combination and

conspiracy within the meaning of Section 1 of the Sherman Act.



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       124.       Through the License Agreements, Membership Standards, and Guidelines,

BCBSA and BCBS-New Hampshire have agreed to divide and allocate the geographic markets

for the sale of commercial health insurance into a series of exclusive areas for each of the thirty-

eight BCBSA members. By so doing, the BCBSA members (including BCBS-New Hampshire)

have conspired to restrain trade in violation of Section 1 of the Sherman Act. These market

allocation agreements are per se illegal under Section 1 of the Sherman Act.

       125.       The market allocation agreements entered into between BCBS-New Hampshire

and the thirty-seven other BCBSA member plans (executed through the BCBSA License

Agreements and related Membership Standards and Guidelines) are anticompetitive.

       126.       BCBS-New Hampshire has market power in the sale of full-service commercial

health insurance to individuals and small groups in each relevant geographic and product market

alleged herein.

       127.       Each of the challenged agreements has had substantial and unreasonable

anticompetitive effects in the relevant markets, including but not limited to:

                  a. Reducing the number of health insurance companies competing with BCBS-

                     New Hampshire throughout New Hampshire;

                  b. Unreasonably limiting the entry of competitor health insurance companies

                     into New Hampshire;

                  c. Allowing BCBS-New Hampshire to maintain and enlarge its market power

                     throughout New Hampshire;

                  d. Allowing BCBS-New Hampshire to raise the premiums charged to consumers

                     by artificially inflated, unreasonable, and supra-competitive amounts;



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              e. Depriving consumers of health insurance of the benefits of free and open

                  competition.

       128.   The procompetitive benefits, if any, of the market allocation agreements alleged

above do not outweigh the anticompetitive effects of those agreements.

       129.   The market allocation agreements in the License Agreements, Membership

Standards, and Guidelines unreasonably restrain trade in violation of Section 1 of the Sherman

Act.

       130.   As a direct and proximate result of BCBS-New Hampshire’s continuing violations

of Section 1 of the Sherman Act, Plaintiffs and other members of the New Hampshire Class have

suffered injury and damages in an amount to be proven at trial. These damages consist of having

paid higher health insurance premiums to BCBS-New Hampshire than they would have paid

with increased competition and but for the Sherman Act violations.

       131.   Plaintiffs and the New Hampshire Class seek money damages from BCBS-New

Hampshire and BCBSA for their violations of Section 1 of the Sherman Act.

                                         Count Two
          (Willful Acquisition and Maintenance of a Monopoly in the Relevant Market
             for Private Health Insurance in Violation of Sherman Act, Section 2)

       132.   Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       133.   BCBS-New Hampshire has monopoly power in the individual and small group

full-service commercial health insurance market in New Hampshire. This monopoly power is

evidenced by, among other things, BCBS-New Hampshire’s high market share of the

commercial health insurance market, including its increasing market share even as it has raised

premiums.



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        134.    BCBS-New Hampshire has abused and continues to abuse its monopoly power in

order to maintain and enhance its market dominance by unreasonably restraining trade, thus

artificially inflating the premiums it charges to consumers.

        135.    BCBS-New Hampshire’s conduct constitutes unlawful monopolization and

unlawful anti-competitive conduct in the relevant markets in violation of Section 2 of the

Sherman Act, and such violation and the effects thereof are continuing and will continue unless

injunctive relief is granted.

        136.    As a direct and proximate result of BCBS-New Hampshire’s continuing violations

of Section 2 of the Sherman Act, Plaintiffs and other members of the New Hampshire Class have

suffered injury and damages in an amount to be proven at trial. These damages consist of having

paid higher health insurance premiums to BCBS-New Hampshire than they would have paid but

for the Sherman Act violations.

        137.    Plaintiffs and the New Hampshire Class seek money damages from BCBS-New

Hampshire for its violations of Section 2 of the Sherman Act.

                                          Count Three
                    (Willful Attempted Monopolization in the Relevant Market
               for Private Health Insurance in Violation of Sherman Act, Section 2)

        138.    Plaintiffs repeat and reallege the allegations in all Paragraphs above.

        139.    BCBS-New Hampshire has acted with the specific intent to monopolize the

relevant markets.

        140.    There was and is a dangerous possibility that BCBS-New Hampshire will succeed

in its attempt to monopolize the relevant markets because BCBS-New Hampshire controls a

large percentage of those markets already, and further success by BCBS-New Hampshire in



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excluding competitors from those markets will confer a monopoly on BCBS-New Hampshire in

violation of Section 2 of the Sherman Act.

       141.    BCBS-New Hampshire’s attempted monopolization of the relevant markets has

harmed competition in those markets and has caused injury to Plaintiffs and the New Hampshire

Class. Premiums charged by BCBS-New Hampshire have been higher than they would have

been in a competitive market.

       142.    Plaintiffs and the New Hampshire Class have been damaged as the result of

BCBS-New Hampshire’s attempted monopolization of the relevant markets.

                                     RELIEF REQUESTED

       WHEREFORE, Plaintiffs request that this Court:

       a.      Determine that this action may be maintained as a class action under Fed. R. Civ.

               P. 23;

       b.      Adjudge and decree that BCBSA and BCBS-New Hampshire have violated both

               Section 1 and Section 2 of the Sherman Act;

       c.      Award Plaintiffs and the New Hampshire Class damages in the form of three

               times the amount by which premiums charged by BCBS-New Hampshire have

               been artificially inflated above their competitive levels during the Class Period;

       d.      Award costs and attorneys’ fees to Plaintiffs;

       e.      For a trial by jury; and

       f.      Award any such other and further relief as may be just and proper.


This the 17th day of April 2013

                                               Respectfully submitted,


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